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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-01129

   ERIC COOMER, PhD.,

         Plaintiff

   v.

   MICHAEL J. LINDELL, FRANKSPEECH LLC,
   AND MY PILLOW, INC.,

         Defendants


                                    EXHIBIT 3
!
 Case No. 1:22-cv-01129-NYW-SKC
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    Having tried every pillow on the
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    Despite betrayal, adversity, no money
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                                           orders@mypillow.com



         MyPillow® is not a medical device and is not intended to diagnose, treat, mitigate or cure
                                              any disease.


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                                               Privacy Policy


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!
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MyPillow <mike.lindell@mail.mypillow.com>
    You left something in your cart! Get $10 of f
July 28, 2022 at 8:30 PM CDT
To: tm.peters@live.com


      You’re eligible for $10 OFF your next
      order!                                                     ACTIVATE OFFER
      Use Gift Card Code: TCGNFF




                              Don't Forget
                                   To Check Out!
            We’re committed to providing you products that actually work. Find out for
                    yourself how great these are and finish your order today!




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      Check Out Our Other Great Products
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                        Have Questions?
     Mike puts customer satisfaction as his first priority, and we are committed to
                  meeting your needs. We are here to help 24/7.


                                  !"-'.!'(*/




    About MyPillow                  Information                    Contact
             FAQ                     In the Media               24/7 Ordering Call:
          Warranty                    Get Fitted                 1-800-419-4019
         Testimonials                Where to Buy               Customer Service:
                                                                 1-800-308-1299




                                Connect With Us
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                                            1550 Audubon Rd
                                            Chaska, MN 55379
                                              1-800-308-1299
                                            help@mypillow.com



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                                              any disease.


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MyPillow <no-reply@mypillow.com>
Your MyPillow Order Confirmation
July 01, 2022 at 6:26 PM CDT
To: Tm.peters@live.com




                                     Thank You
       Hello Tina Peters,


       Thank you for your MyPillow order. Once your order ships we will send an email with
       tracking information. We appreciate your patience with receiving your tracking information,
       rest assured your order will arrive within the shipping window you selected. You can
       always stay up to date with the status of your order by clicking the "Review your order"
       button.

       Blessings,
       Mike Lindell
       CEO, MyPillow Inc.




                                      Review Your Order




       Order Number: #19925118                                    Date: 7/1/2022 6:22:38 PM




       PAYMENT INFORMATION
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    BILLING INFORMATION                    PAYMENT METHOD
    Tina Peters                            PayPal $ 80.29
    2663 Eagle Ridge Dr
    Grand junction, CO 81503
    UNITED STATES
    T: 970-261-4302




    CART INFORMATION
  Item                         SKU               Quantity           Subtotal

  All Season - 8 Womens -      74468-04          1                  139.98
  Beach Beige Moccasin
  Slippers


  MySlipper Leather            74072-01          1                  19.98
  Protectant Spray


  What Are The Odds -          mlbook-sc         1                  0.00
  Softcover


    SUBTOTAL                                                                 $ 159.96
    DISCOUNT                                                                 $ -95.99
    SHIPPING & HANDLING                                                       $ 12.95
    TAX                                                                        $ 3.37
    GIFT CARD                                                                   $ .00


    TOTAL                                                                  $ 80.29



    SHIPMENT INFORMATION

    WILL BE SHIPPED TO                     SHIPPING METHOD
    Tina Peters                            10 to 14 Business Days
    2663 Eagle Ridge Dr
    Grand junction, CO 81503
    UNITED STATES
    T: 970-261-4302
Case No. 1:22-cv-01129-NYW-SKC Document 97-3 filed 02/02/23 USDC Colorado pg 57
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                                 Review Your Order




                   MyPillow, 1550 Audubon Road, Chaska, MN 55318, USA


    You're receiving this email because of your shopping activity at Company. We promise to
                    use your information only according to our privacy policy.
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MyPillow <no-reply@mypillow.com>
Your MyPillow Order Confirmation
March 04, 2022 at 6:29 AM CST
To: Tm.peters@live.com




                                     Thank You
       Hello Tina Peters,


       Thank you for your MyPillow order. Once your order ships we will send an email with
       tracking information. We appreciate your patience with receiving your tracking information,
       rest assured your order will arrive within the shipping window you selected. You can
       always stay up to date with the status of your order by clicking the "Review your order"
       button.

       Blessings,
       Mike Lindell
       CEO, MyPillow Inc.




                                      Review Your Order




       Order Number: #18759464                                    Date: 3/4/2022 6:26:29 AM




       PAYMENT INFORMATION
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    BILLING INFORMATION                      PAYMENT METHOD
    Tina Peters                              Gift Card $ 10.00
    2663 Eagle Ridge Dr                      Gift Card Number:PXAGQH
                                             PayPal $ 73.66
    Grand junction, CO 81503
    UNITED STATES
    T: 970-261-4302




    CART INFORMATION
  Item                         SKU                Quantity             Subtotal

  8 Womens - Grey Moccasin     74021-03           1                    139.98
  Slippers


  What Are The Odds -          mlbook-sc          1                    0.00
  Softcover


    SUBTOTAL                                                                    $ 139.98
    DISCOUNT                                                                    $ -69.99
    SHIPPING & HANDLING                                                           $ 9.98
    TAX                                                                           $ 3.69
    GIFT CARD                                                                   $ -10.00


    TOTAL                                                                     $ 73.66



    SHIPMENT INFORMATION

    WILL BE SHIPPED TO                       SHIPPING METHOD
    Tina Peters                              10 to 14 Business Days
    2663 Eagle Ridge Dr
    Grand junction, CO 81503
    UNITED STATES
    T: 970-261-4302




                                   Review Your Order
Case No. 1:22-cv-01129-NYW-SKC Document 97-3 filed 02/02/23 USDC Colorado pg 60
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                   MyPillow, 1550 Audubon Road, Chaska, MN 55318, USA


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MyPillow <no-reply@mypillow.com>
Your MyPillow Order Has Shipped
March 08, 2022 at 10:37 AM CST
To: Tm.peters@live.com




                            Your Order Shipped
       Hello Tina Peters,
       Your order has shipped! You can track your order using the "Track your order" button for up to date
       information on your package. Please note that it may take up to 24 hours for your tracking data to appear
       on the carrier's website.


       If your order includes a Mattress Topper it will arrive separately from any additional items purchased.

       You can always stay up to date with the status of your order by clicking the "Review Your Order" button.


       Blessings,
       Mike Lindell
       CEO, MyPillow Inc.




                                             Track Your Order




                                            Review Your Order
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                   MyPillow, 1550 Audubon Road, Chaska, MN 55318, USA


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MyPillow <no-reply@mypillow.com>
Your MyPillow Order Has Shipped
July 07, 2022 at 11:58 PM CDT
To: Tm.peters@live.com




                            Your Order Shipped
       Hello Tina Peters,
       Your order has shipped! You can track your order using the "Track your order" button for up to date
       information on your package. Please note that it may take up to 24 hours for your tracking data to appear
       on the carrier's website.


       If your order includes a Mattress Topper it will arrive separately from any additional items purchased.

       You can always stay up to date with the status of your order by clicking the "Review Your Order" button.


       Blessings,
       Mike Lindell
       CEO, MyPillow Inc.




                                             Track Your Order




                                            Review Your Order
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                   MyPillow, 1550 Audubon Road, Chaska, MN 55318, USA


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MyPillow <no-reply@mypillow.com>
Your order: 1992511810
July 13, 2022 at 4:08 PM CDT
To: Tm.peters@live.com

Tina,

Your order #1992511810 has been delivered and the tracking information is below. Thank you!

Shipped on 7/7/2022 using UPS SurePost® 1 LB or Greater: 1Z589796YW94761424

Sincerely,
MyPillow
